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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-22128-CIV-SMITH

  WOOD MOUNTAIN FISH, LLC, on behalf
  of itself and all others similarly situated,

         Plaintiff,

  v.

  MOWI ASA, et al.,

        Defendants.
  ______________________________________/

                        ORDER DENYING MOTION TO
        MODIFY RULE 23(g) ORDER AND APPOINT INTERIM LEAD COUNSEL

         This matter is before the Court on Commercial and Institutional Indirect Purchaser

  Plaintiffs’ Renewed Motion to Modify Rule 23(g) Order and Appoint Cuneo Gilbert & Laduca,

  LLP; Cotchett, Pitre & McCarthy; and Gustafson Gluek PLLC Interim Lead Counsel (the

  “Motion”) [DE 127], Plaintiff Wood Mountain Fish, LLC’s Response in Opposition [DE 138],

  and Commercial and Institutional Indirect Plaintiffs’ Reply [DE 139]. Defendants did not file a

  response to the Motion. For the reasons that follow, the Motion is DENIED.

         In the Motion, Cuneo Gilbert & LaDuca, LLP; Cotchett, Pitre & McCarthy, LLP, and

  Gustafson Gluek PLLC (collectively, “Moving Counsel”) request that the Court modify its orders

  appointing interim class counsel [DE 24, 92] and appoint the Moving Counsel as the interim lead

  class counsel for a proposed subset of the proposed putative class consisting of commercial and

  institutional indirect purchasers. Moving Counsel claim that some members within the defined

  class have interests adverse to other members, which could impact class certification. Therefore,
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  Moving Counsel seek to separate those members from the currently defined class and subsequently

  serve as the interim lead counsel for their proposed subclass.

            Federal Rule of Civil Procedure 26(g)(3) is a permissive rule which provides the Court

  with discretion to “designate interim counsel to act on behalf of a putative class before determining

  whether to certify the action as a class action.” Fed. R. Civ. P. 23 (g)(3). The purpose of an interim

  counsel is to protect the interest of the class during precertification activities, such as making and

  responding to motions, conducting any necessary discovery, moving for class certification, and

  negotiating a settlement. Manual for Complex Litigation, Fourth, § 21.11.

            The Court appointed Wolf Haldenstein Adler Freeman & Herz LLP and Lockridge Grindal

  Nauen PLLP (collectively, “Interim Counsel”) as co-interim counsel. Before appointing Interim

  Counsel, the Court thoroughly reviewed their submissions and evaluated their suitability as interim

  counsel pursuant to Federal Rule of Civil Procedure 23(g). The Court’s opinion regarding Interim

  Counsel’s suitability to serve as interim counsel remains unchanged.

             The Court is not convinced that additional interim counsel are appropriate or necessary at

  this time. The concerns raised by Moving Counsel are more appropriately addressed during class

  certification and the subsequent appointment of class counsel. Moreover, the Court highlights that

  Plaintiff has yet to file an amended complaint. On July 26, 2019, the parties filed a Joint Motion

  [DE 74], in which Plaintiff notified the Court that it intended to file an amended complaint. The

  parties requested what amounts to a stay, pending a ruling by Judge Altonaga in a related civil

  action. 1 The Court issued an Oder [DE 75] granting the parties’ Joint Motion and ordered that

  Plaintiff file its amended complaint within thirty days of a ruling on any 12(b) motion. To date,

  Plaintiff has not filed an amended complaint. Therefore, the Court is unwilling to issue an order



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      In re Farm-Raised Salmon and Salmon Products Litigation, Case No. 19-21551-CV (S.D. Fla. 2019).

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  effectively creating an undefined subclass of members and modifying the interim leadership

  structure when Plaintiff has clearly expressed to the Court its intention to file an amended

  complaint. The Court expects that, when drafting its amended complaint, Plaintiff’s counsel will

  collaborate with Moving Counsel and address these concerns raised. Accordingly, it is

         ORDERED that the Commercial and Institutional Indirect Purchaser Plaintiffs’ Renewed

  Motion to Modify Rule 23(g) Order and Appoint Cuneo Gilbert & Laduca, LLP; Cotchett, Pitre &

  McCarthy; and Gustafson Gluek PLLC Interim Lead Counsel [DE 127] is DENIED.

         DONE AND ORDERED in Fort Lauderdale, Florida this 22nd day of February, 2021.




  cc:    Counsel of record




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